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                  EXHIBIT E
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From:                        Maxwell Pritt <mpritt@BSFLLP.com>
Sent:                        Tuesday, November 26, 2024 14:05
To:                          Lauter, Judd; Llama C-Counsel
Cc:                          z/Meta-Kadrey; Dunning, Angela L.
Subject:                     RE: Kadrey v. Meta - Meet and confer follow-up



[External]

Counsel,

Following up on yesterday’s 2 PM PT M&C, Plain ﬀs agree the following issues are moot in light of the
responses/compromises in Judd’s 1:55 PM email from yesterday (11/25):

          Plain ﬀs’ ROGs 19, 20, 22
          Plain ﬀs’ RFAs 44 and 98
          Plain ﬀs’ RFPs 120 and 134

Separately, as conﬁrmed on yesterday’s M&C, the par es are at an impasse on the following issues:

          Plain ﬀs’ RFPs 118-119
          Plain ﬀs’ RFPs 121-122

Plain ﬀs do intend to brief RFPs 118-119 and 121-122. We note that Meta maintains its refusal to produce documents
and communica ons responsive to RFP 119 despite our oﬀered compromise so we will move in full on that RFP. We
also note that Meta has not clariﬁed its intended scope of its limita on on RFP 118 to “suﬃcient to show Meta’s training
data memoriza on mi ga ons for the Llama Models (as construed above)”—please let us know if Meta is excluding
both Llamas 4 and 5, and if Meta excluding documents and communica ons concerning Meta’s stripping or removing of
copyright management informa on from copyrighted material.

Our plan is to send a dra le er brief at 3 PM PT next Monday for Wednesday turnaround and ﬁling. Thank you.

Best,
Max



From: Lauter, Judd <jlauter@cooley.com>
Sent: Monday, November 25, 2024 1:55 PM
To: Llama C-Counsel <llama_cocounsel@bsfllp.com>
Cc: z/Meta-Kadrey <zmetakadrey@cooley.com>; Dunning, Angela L. <adunning@cgsh.com>
Subject: Kadrey v. Meta - Meet and confer follow-up


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Counsel,



                                                                    1
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In advance of today’s meet and confer, Meta has set forth its responses to the unresolved issues detailed
below. Except as to RFPs 121 and 122, we believe these issues are now moot. We look forward to your
confirmation of the same.

Regards,

Judd


                Issue / ROG                                       Response / Compromise
 ROG 17                                       Meta will amend its response to this Interrogatory to read as
                                              follows:

                                                      Subject to and without waiving the foregoing objections,
                                                      Meta responds as follows: Meta is not relying on the advice
                                                      of counsel defense.
 ROG 19                                       Meta will amend its response to provide a high-level explanation of
                                              the identified documents and what they show regarding Meta’s
                                              revenue from its partnerships.
 ROG 20                                       Meta will provide a description of its agreements with Amazon,
                                              Google, and Microsoft, in addition to producing copies of those
                                              agreements.
 ROG 22                                       In light of Meta’s agreement to amend the foregoing responses, we
                                              understand that Plaintiffs will drop their demands as to this
                                              Interrogatory.




                Issue / RFAs                                      Response / Compromise
 Disputed Definitions (of “Dataset” and       Meta will not construe “Llama Models” to encompass Llama
 Llama Models”)                               “5.” However, Meta is prepared to construe “Llama Models” to
                                              include Llama 4, and “Datasets” to include web-scraped
                                              data. This will not change Meta’s RFA responses, except as to RFA
                                              15 because, as relevant to that RFA, Llama 4 remains in
                                              development.
 RFA No. 44                                   We understanding that in light of Meta’s compromise on the
                                              foregoing interrogatories and RFA No. 98, Plaintiffs will drop their
                                              demands as to this RFA.
 RFA No. 98                                   Plaintiffs clarified during a call last week that Meta can construe
                                              this RFA to read “Admit that you used books data included in
                                              Books3 to train one or more of your large language models. With
                                              this clarification Meta will amend its response to RFA 98.




                Issue / RFPs                                       Response / Compromise




                                                        2
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 RFP No. 120                                                              Meta has produced all commits and pull requests for the
                                                                          repositories provided to date. Meta will produce these commits
                                                                          and pull requests in text format independent of the source code
                                                                          computer.

 RFPs 121 and 122: Plaintiffs are willing to                              Meta has produced the source code repositories mentioned by
 narrow requests to:                                                      Dr. Krein. However, Meta disagrees that the additional code
                                                                          requested is relevant or proportional.
        The production and application
         code underlying the
         https://www.meta.ai/ chatbot,
         including all code that
         encompasses, supports, and
         integrates the models into meta.ai.
      The components of Facebook and
         Instagram that “incorporat[e]
         already-trained Llama models,”
         including the portions of code that
         encompass, support, and integrate
         those models into Facebook and
         Instagram.
      any of the source code repositories
         mentioned in Appendix A to Dr.
         Jonathan Krein’s November 6, 2024
         declaration that are relevant to
         these RFPs.
 RFP 134 (seeks documents concerning the                                  Plaintiffs clarified that by “value of books” they mean both the
 “value of books”)                                                        rationale for using books as training data and financial cost
                                                                          associated with licensing, With that clarification, Meta has, in
                                                                          response to this and other Requests, conducted a reasonable
                                                                          search for documents responsive to this Request. Accordingly,
                                                                          there does not appear to be a dispute concerning RFP 134.




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